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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America .
s } Case: 1:23-mj-00261
Lee Stutts Assigned To : Upadhyaya, Moxila A.
DOB: XXXXXX ) Assign. Date : 9/26/2023

) Description: Complaint W/ Arrest Warrant
)

Defendant(s)

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of
in the District of Columbia __ . the defendant(s) violated:
Code Section Offense Description

18 U.S.C. § 111(a)(1) & (b) - Assaulting, Resisting, or Impeding Certain Officers with Deadly or Dangerous
Weapon,

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,

18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building,

40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings.

This criminal complaint is based on these facts:

See attached statement of facts.

WW Continued on the attached sheet.

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. Mf
Date: 09/26/2023 Uy
Judge’s signature
City and state: Washington, D.C. Moxila A. Upadhyaya, U.S. Magistrate Judge

Printed name and title
